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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                      PENNSACOLA DIVISION


PRESIDENT DONALD J. TRUMP, 45th President
of the United States of America, in his individual
capacity,

                               Plaintiff,

            v.                                       3:23-cv-02333-MCR-ZCB

SIMON & SCHUSTER, INC., a New York
corporation, ROBERT WOODWARD p.k.a. BOB
WOODWARD, an individual, and PARAMOUNT
GLOBAL, a Delaware corporation, f/k/a Viacom
Inc., successor by merger to CBS Corporation, a
Pennsylvania corporation f/k/a Westinghouse
Electric Corporation,

                                Defendants.



  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ RULE
       12(B)(6) MOTION TO DISMISS THE COMPLAINT
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                                INTRODUCTION

      For more than two centuries, Presidents of the United States have relied on

journalists to communicate their views to their constituents. On May 4, 1789,

The Hartford Courant published President Washington’s inaugural speech to

Congress. During the Civil War, an interview with President Lincoln was published

to explain why Black troops should be permitted to fight for the Union. An Interview

with the President, N.Y. TIMES (Sept. 8, 1864). With modern technology, audiences

became accustomed to hearing their leaders directly via radio, television, online

news, and social media. Presidents from Kennedy to Biden spoke to the Nation

through interviews conducted by reporters like Walter Cronkite, Barbara Walters,

and Bob Woodward. Far from being passive bystanders in these conversations,

journalists frame the agenda, ask Presidents tough questions, and contextualize their

responses.    Ultimately, this long tradition of candid reporting depends on an

axiomatic principle—reflected in copyright law—that the words a sitting President

speaks while discussing his duties are not private property, but rather they belong to

the People.

      No President before or since Donald Trump has ever claimed to own a

copyright in presidential interviews or demanded royalties for their republication.

Yet President Trump has filed a copyright lawsuit against Bob Woodward

(“Woodward”), Simon & Schuster (“S&S”), and Paramount Global (“Paramount”)



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(collectively “Defendants”) for publishing The Trump Tapes: The Historical Record

(the “Work”). In the final year of the Trump Administration, Woodward, one of this

country’s most prominent journalists, conducted a series of nineteen interviews with

President Trump (the “Interviews”).       Drawing on decades of experience as a

presidential interviewer, Woodward was the architect and true author of the

Interviews—it was he who devised the questions, who decided when to press

President Trump (or when to let him speak unchallenged), and who ultimately

preserved the Interviews for posterity by tape recording them.

      As Woodward notes in the Work, he relistened to the Interviews after

President Trump left office and decided “to put as much of Trump’s voice, his own

words, out there for the historical record”—including the then-President’s views on

subjects ranging from his first impeachment, to U.S. relations with North Korea, to

the government’s response to COVID-19. But Woodward did not simply publish

the raw Interviews. Rather, to achieve his historical purpose, Woodward edited the

Interviews for clarity, succinctness, and sound quality, and authored original content,

including 227 “commentaries” offering critical context and an Introduction and

Epilogue that seek to define President Trump’s place in the pantheon of Presidents.

The Work was published as an audiobook—presenting President Trump as

Woodward heard him—and as a substantively identical text edition. As Woodward

concluded in the Work, “Trump’s view of the presidency that comes across over and



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over again in our interviews” is that “‘[e]verything is mine.’ The presidency is mine.

It is still mine. The only view that matters is mine.”

      As if on a mission to prove this “everything is mine” thesis, the Complaint

asserts that Donald Trump, “in his individual capacity,” owns Woodward’s entire

Work because it features words spoken by “President Trump, 45th President of the

United States of America.” And President Trump seeks to profit from public service

by demanding Defendants pay him nearly $50 million for publishing statements he

made while in the White House. But the Complaint ignores Woodward’s role as the

author of both the Interviews and the Work, making him the sole copyright owner.

More fundamentally, this lawsuit offends the basic principle—codified in the

Copyright Act—that government officials speak for the People and cannot own the

words they speak while carrying out official duties.

      For obvious reasons, President Trump’s Complaint has no legal merit. Counts

I and II (the “Copyright Claims”) fail because President Trump failed to obtain a

copyright registration prior to filing suit. See POINT I. President Trump also lacks

a protectable copyright interest in the Interviews or the Work because Woodward is

their sole author, whereas President Trump’s contributions are non-copyrightable

government works under the Copyright Act. See POINT II. And, in any event, it is

fair use to quote a President for a Work subtitled “the Historical Record.”

See POINT III. Counts III through IX (the “State Law Claims”) fare no better.



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The common thread is that Woodward allegedly violated a promise that he would

use his recordings exclusively for his book Rage, published two years before the

Work. But the Interviews themselves make clear that no such promise was made

and that Woodward was under no obligation to mothball his Interviews. As nothing

more than backdoor copyright claims, the State Law Claims are preempted by the

Copyright Act (see POINT IV) and fail to state a cognizable cause of action. See

POINT V. Finally, the claims against Paramount Global (“Paramount”) fail because

the Complaint fails to allege that it, as S&S’s parent company, played an actionable

role in the Work’s publication. See POINT VI.

      President Trump’s unprecedented effort to extract private benefit from his

public duties should be dismissed in its entirety.

                           FACTUAL BACKGROUND

      A.     Woodward Interviews President Trump and Publishes Rage

      For more than 50 years, Bob Woodward has covered Presidents and politics

for The Washington Post. Woodward—who has shared two Pulitzer Prizes—came

to prominence by publishing groundbreaking reporting about President Nixon’s role

in Watergate with his Post colleague, Carl Bernstein, which served as the basis for

their 1974 classic All the President’s Men. Since then, Woodward has “written

books about 10 presidents from Nixon to Biden” and “interviewed Presidents Carter,

Clinton, George W. Bush, and Obama” in the Oval Office. See Ex. A, 417, “Also



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By Bob Woodward” page.1 In September 2018, Woodward published Fear: Trump

in the White House, which chronicled the first year of the Trump presidency through

scores of interviews with administration officials (but not President Trump, who

declined to be interviewed). Compl. ¶30.

      After Woodward announced he would write a follow-up to Fear, President

Trump agreed to be interviewed because he “wish[ed] he met with [Woodward] for

the last book.” Ex. A, 47. Woodward conducted his first presidential interview with

President Trump on December 5, 2019 in the Oval Office. Id. 45. As Woodward

explained:

      Our interviews took place during one of the most consequential years
      in American history. Trump was impeached, the COVID-19 pandemic
      erupted, and the murder of George Floyd sparked the largest racial
      justice protests in the United States since the civil rights movement.
      I pressed Trump on these topics as well as foreign policy.

Id. 2. At the December 5 interview, Woodward emphasized that “policy is what

matters” for “the public, for history.” Id. 49. In subsequent Interviews, Woodward

repeated his intention to memorialize President Trump’s views on important

subjects, in his own words, “for history.” Id. 119; see, e.g., id. 139 (“But help me,


1
  The Work is incorporated by reference and can be properly considered on a
Rule 12(b)(6) motion. SFM Holdings. Ltd. v. Banc of Amer. Sec., LLC, 600 F.3d
1334, 1337 (11th Cir. 2010); Sieger Suarez Architectural P’ship Inc. v.
Arquitectonica Int’l Corp., 998 F. Supp. 2d 1340, 1349 (S.D. Fla. 2014). This Court
can take judicial notice of Woodward’s bibliography because it is “not subject to
reasonable dispute.” Fed. R. Evid. 201(b); Dahlgren v Muldrow, 2007 WL 2827671,
at *1 (N.D. Fla. Sept. 27, 2007) (same).


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for the history, Mr. President.”); id. 275 (“But what I want to ask you—for the

history …”); id. 330 (“Can you tell me, just real quickly for the history…”).

      Each of the Interviews was “on the record”—i.e., anything that President

Trump said could be attributed to him freely—and openly tape-recorded by

Woodward, which was his general practice for interviewing Presidents. Id. 47, 137.

Woodward “tried to do [his] homework” before each interview and “asked questions

directly.” Id. 417. As Woodward recognized, “Trump could take you on a freeway

to nowhere in an instant,” (id. 85) and Woodward often used his experience as an

interviewer to steer the conversation to important matters of policy. See, e.g., id. 49-

50, 118 (“TRUMP: How about my instinct?               Do I get credit for that? …

COMMENTARY: Our time was running out. I wanted to move to foreign policy.”).

      Between December 5, 2019 and August 14, 2020, Woodward interviewed

President Trump nineteen times while he was the sitting President. The first three

Interviews were in person (two in the Oval Office, the third at Mar-a-Lago) and

Woodward’s tape recorder was visible throughout. Id. 45, 47, 86, 136-137. The

remaining Interviews took place over the telephone, especially during COVID

lockdowns, with Woodward either calling President Trump from his Washington

D.C. home or receiving calls there. See id. 175-294, 311-419. President Trump was

apparently located in the White House for all of the calls, except one call he received




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on Air Force One. Id. 212-22.2 Woodward frequently reminded President Trump

that the calls were being recorded noting, for example, that he was “turning [his]

recorder on for our history.” Id. 376; see also id. 361 (“BW: I’ve got—as I always

do, I have my tape recorder on. TRUMP: That’s okay. I don’t mind.”). At no point

did President Trump object to being recorded, claim to own the Interviews, or state

that Woodward was prohibited from using them after publishing his next book.

      The Work demonstrates that President Trump fully understood that he had no

control over how Woodward used the Interviews.              As President Trump

acknowledged, he could not tell Woodward what to write and could only “hope” that

he “write[s his] answer[s]” fairly. Id. 55. More than once, President Trump

observed that President Bush came “out terribly” in books based on his interviews

with Woodward. Id. 285. When Woodward responded that President Bush “had his

say [and] didn’t object,” President Trump acknowledged his lack of control: “Ugh.

And in the end you’ll probably write a lousy book. What can I say? I respect you

as an author.” Id. See also id. 323-24 (“TRUMP: You’re probably going to screw

me. Because, you know, that’s the way it goes.”).




2
  The first telephone interview occurred on January 20, 2020, when Woodward
received a call “out of the blue” from the “White House switchboard operator.”
Id. 175. Woodward made handwritten notes of this conversation, but “started to
leave handheld recorders around [his] house within easy reach of the phone” for
when President Trump called again. Id. 176.


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      While Woodward did tell President Trump that the Interviews were for

“the book to come out before the election,” this was merely a promise not to publish

content from the Interviews in contemporaneous news articles. Id. 237, 289-90.

Woodward referenced this limited embargo during the first interview in the Oval

Office: “remember, this [interview] is for next year, for the book.” Id. 84. During

the third interview, President Trump reiterated that the Interviews would be

“[f]or the book only”—which Deputy Press Secretary Gidley clarified as meaning

“[n]o stories coming out, no nothing” prior to the book’s proposed publication in the

fall of 2020. Id. 137; Compl. ¶44.

      Government officials serving in the Trump Administration frequently

attended the Interviews and often provided commentary. The December 5 interview

included “Senator Lindsey Graham, Senior Political Counselor Kellyanne Conway,

and two of Trump’s aides, Deputy Press Secretary Hogan Gidley and Chief of Staff

Mick Mulvaney,” with Vice President Pence joining towards the end. Id. 45, 78.

Deputy Press Secretary Gidley also joined the December 30, 2019 interview at Mar-

a-Lago, interjecting comments. Id. 136; Compl. ¶52. Senior Advisor Jared Kushner

and Deputy Chief of Staff for Communications Dan Scavino joined other Interviews.

Id. 86, 112, 169, 173, 221.




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      These Interviews became the core of Woodward’s follow-up book to Fear.

Rage was published by S&S on September 14, 2020.3 Compl. ¶31. President Trump

continued to speak to Woodward after Rage was substantially complete—three

Interviews occurred after Woodward had submitted initial manuscripts and a fourth

after “the book was done.” Ex. A 338, 376, 389, 408. Approximately “20 percent

of” Rage derived from the Trump Interviews (id. 411) and Woodward published

38 audio clips from the Interviews when Rage was published. See Compl. n.9.

Woodward provided these excerpts to various news organizations, which played

them on air and online, including The Washington Post’s website.4 The Complaint

asserts no claim arising out of the use of the Interviews in Rage or Woodward’s prior

release of the recordings.

      B.     Woodward Creates the Work Using His Raw Interviews

      Woodward relistened to the Interviews in early 2022 and “decided to take the

unusual step of releasing these recordings” as an audiobook because “[h]earing

Trump speak is a completely different experience to reading the transcripts or

listening to snatches of interviews…” Ex. A, 1.


3
 The Complaint claims that Rage was a “total failure” (see Compl. ¶33), but it
debuted at No. 1 on The New York Times non-fiction best-seller list. See Best
Sellers – Books, The New York Times (Oct. 4, 2020), https://www.nytimes.com/
books/best-sellers/2020/10/04/.
4
  See R. Costa & P. Rucker, Woodward Book, WAPO (Sept. 9, 2020), available at
https://www.washingtonpost.com/politics/bob-woodward-rage-book-
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      The Work consists primarily of edited versions of the Interviews. “[F]or the

most part the interviews proceed uninterrupted, fulfilling Woodward’s goal of

presenting Trump’s voice and words for the historical record, and offering listeners

the chance to hear and judge and make their own assessments.” Id. But Woodward

also interspersed the Interviews with copious original content. The Work contains

an Introduction and Epilogue, which place the Interviews—and the Trump

Administration—into a broader historical and political context. In the Introduction,

for instance, Woodward writes: “‘On history’s clock it was sunset,’ the brilliant

author Barbara Tuchman wrote of 1914 before World War I … Just over a century

later, the year 2016 and the election of Trump turned out to be another sunset.

The old political order was dying and is now dead.” Id. 3. The Epilogue states in

similar vein that “Trump aspired to be a colossus like FDR. He lives his own self-

inflicted melodrama.    Everything is mine.”      Id. 419.   Woodward drew the

“everything is mine” quote from an interview where President Trump took credit for

a speech that his aides wrote because “[t]he ideas are mine … Everything is mine.”

Id. 331, 414. Foreshadowing this lawsuit, the Work presents Woodward’s “central

conclusion” that “Trump does not believe in democracy” and “treated the presidency

like his own property.” Id. 414-15.

      The Work also includes “227 new commentaries” written by Woodward and

interwoven into the Interviews in order “to provide essential context or



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clarification.” Id. vii, 2. Each interview opens with Woodward setting the scene,

like the note stating that the first interview started “[a] few hours after Pelosi’s press

conference [announcing President Trump’s first impeachment].” Id. 45. The Work

also provides factual background, such as the comment following President Trump’s

statement that he “get[s] along very well” with Erdogan—“COMMENTARY:

Recep Erdogan, the 68-year old strongman leader of Turkey… is widely considered

one of the world’s most notorious autocrats.” Id. 181. Elsewhere, Woodward

contrasts President Trump’s words with his previous statements or statements from

other government officials, past or present. See, e.g., id. 260 (juxtaposing President

Trump’s statement that “I’m a big fan of hydroxychloroquine” with statement from

Dr. Fauci that the drug was never shown to be effective); id. 405-07 (comparing

President Trump’s rhetoric to FDR speech).

      The commentaries also frequently “break frame from the interviews” (id. 2)

to point out when President Trump said something inaccurate or misleading—

especially when Woodward strategically decided not to challenge those statements

during the Interviews. For instance, President Trump claimed that he “banned

people coming in from China [at the outbreak of the pandemic]. Fauci was against

it. So was everyone else….” Id. 287. Immediately after this false statement,

Woodward’s “commentary” states: “Again, this is not true at all…” Id. See also id.




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113-14, 356 (clarifying that “[t]he Mueller report cited ten instances of possible

obstruction of justice”).

      Woodward also devotes an entire chapter of the Work to “one of the most

important interviews for… Rage,” which “wasn’t with Trump” but “with National

Security Adviser Robert O’Brien and Deputy National Security Advisor Matthew

Pottinger.” Id. 295. Those interviews revealed that O’Brien and Pottinger gave a

“stark, dramatic warning” very early in the pandemic about the dangers of the

coronavirus. Woodward then documents how President Trump largely ignored these

warnings—at great cost to human life—by reviewing inculpatory statements

President Trump made in the Interviews and elsewhere. Id. 295-310.

      On a technical level, Woodward oversaw the editing of raw interview tapes to

remove “excessive repetition, irrelevant material, background noise and

unintelligible audio.” Id. 2; Compl. ¶53. S&S engaged an audio producer to record

Woodward’s commentaries and splice them into the interview tapes, ensure “sound

production quality” and process the interview audio “to remove [background] music

for copyright reasons.” Id. vii, 137. President Trump does not claim to have

contributed to the audio-editing process, or any of the other work Woodward

performed to transform the Interviews into the Work.




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      S&S published the Work as an audiobook on October 25, 2022, complete with

Woodward’s original content. Compl. ¶34. A few months later, S&S published

print editions which transcribe the audiobook content. Id. ¶40.

      C.     The Complaint

      The Complaint alleges that Woodward’s publication of the Interviews and

Work infringed President Trump’s exclusive “copyright interests.” Compl. ¶¶55-

66. Without ever claiming that President Trump registered a copyright in the

underlying material, the Complaint demands “a declaratory judgment that [President

Trump] owns [the Work and the Interviews] in full and therefore is entitled to”

recover “at least $49,980,000, exclusive of punitive damages.” Id. ¶58.      In the

alternative, President Trump requests a judgment that he “owns the copyright in his

responses” to Woodward’s Interview questions and is “therefore entitled to … pro

rata revenues....” Id. ¶65. The Complaint also includes interrelated State Law

Claims—including unjust enrichment, breach of contract, promissory estoppel, and

violation of the FDUTPA—and seeks millions of dollars in damages for each of

these as well. Id. ¶¶75-127.

                                    ARGUMENT

      For the reasons set forth below, the Complaint should be dismissed for failure

to state a valid cause of action.




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      I.     THE COPYRIGHT CLAIMS FAIL BECAUSE PRESIDENT
             TRUMP LACKS A VALID COPYRIGHT REGISTRATION

      The Copyright Claims (Counts I-II) fall at the first hurdle because President

Trump does not allege he has obtained (and, in fact, has not obtained) the copyright

registration he needs to bring this lawsuit. As the Supreme Court has reiterated,

plaintiffs “must comply with [17 U.S.C.] §411(a)’s requirement that ‘registration …

has been made’” before filing suit.      Fourth Estate Pub. Ben. Corp. v. Wall-

Street.com, LLC, 139 S. Ct. 881, 887-88 (2019). This prerequisite is satisfied only

“when the Register has registered a copyright after examining a properly filed

application.” Id. 892. Copyright law thus imposes a stringent requirement to

“receive the Copyright Office’s decision on [an] application before instituting suit.”

Id. 891. President Trump’s failure to do so requires dismissal of his Copyright

Claims as a matter of law.5

      President Trump cannot evade the registration requirement by denominating

his Copyright Claims as “Declaratory Relief Regarding Ownership of Copyrights”

and “Accounting” under “the Copyright Laws of the United States.” Compl. ¶¶59-

74. This gambit fails because registration is required before a declaratory-judgment

plaintiff may sue to establish copyright ownership or recoup damages. See Stuart

Weitzman, LLC v. Microcomputer Res., Inc., 542 F.3d 859, 862-63 (11th Cir. 2008)


5
 Although not relevant to this Motion, S&S and Woodward have filed an application
to register a copyright in their Work, and that application is pending.

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(vacating order permitting declaratory judgment action to proceed without

registration); Dowbenko v. Google Inc., 582 F. App’x 801, 805 (11th Cir. 2014)

(affirming dismissal where plaintiff “failed to plead that he registered the

copyright”); Hello I am Elliot, Inc. v. Sine, 2020 WL 3619505, at *11 (S.D.N.Y. July

2, 2020) (same).6

      In short, binding precedent from the Supreme Court and Eleventh Circuit

requires dismissal of the Copyright Claims for failure to register a copyright.

      II.    PRESIDENT TRUMP DOES NOT OWN A COPYRIGHT IN
             WOODWARD’S INTERVIEWS OR WORK

      Even if President Trump had a valid copyright registration (or obtains one),

his Copyright Claims fail on the merits because (A) Woodward is the sole owner of

the copyright in his Interviews and the Work, and (B) President Trump’s

contributions, taken alone, are government works that reside in the public domain.

             A.     Woodward Is the Copyright Owner, Not President Trump

      As the sole author of the Interviews and the Work, Woodward is the exclusive

owner of the copyright interests at issue.        President Trump disclaims joint




6
  Following the Supreme Court’s clarification that the “registration requirement is a
precondition to filing a claim that does not restrict a federal court’s subject-matter
jurisdiction,” Reed Elsevier, Inc. v. Muchnick, 559 U.S. 154, 157 (2010), the
Eleventh Circuit refashioned the Weitzman holding so that “a complaint claiming
infringement of an unregistered copyright can be dismissed for failure to state a
claim.” Fastcase, Inc. v. Lawriter, LLC, 907 F.3d 1335, 1341 (11th Cir. 2018).


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authorship.    Compl. ¶47.7     He asserts instead that he “owns [the Work and

Interviews] in full” or, alternatively, “owns the copyright in his [interview]

responses” (as opposed to Woodward’s questions). Id. ¶¶64-65. Both arguments

fail.

        Copyright ownership “vests initially in the author or authors of the work.”

17 U.S.C. §201(a). The “general rule” recognized by the Supreme Court dictates

that “the author is the party who actually creates the work, that is, the person who

translates the idea into a fixed, tangible expression entitled to copyright protection.”

Community For Creative Non-Violence v. Reid, 490 U.S. 730, 737 (1989) (emphasis

added) (citing 17 U.S.C. §102). See also Garcia v. Google, Inc., 786 F.3d 733, 743-

44 (9th Cir. 2014) (en banc) (actress had no copyrightable interest in film since she

was not the one who “fixed [her] acting performance in [a] tangible medium”).

        Few courts have had the opportunity to apply these general principles to

determine who owns interviews—perhaps because it is so obvious that ownership

vests in the journalist, particularly when interviewing government officials—but

several courts have held journalists to own their interviews outright. See, e.g.,

Taggart v. WMAQ Channel 5 Chicago, 2000 WL 1923322, at *3-5 (S.D. Ill. Oct.

30, 2000) (journalist owned jailhouse interview because, inter alia, prisoner had not

7
 A “joint work” is “prepared by two or more authors with the intention that their
contributions be merged into inseparable…parts of a unitary whole.” 17 U.S.C.
§101.


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fixed his oral expression in any tangible medium of expression); Current Audio, Inc.

v. RCA Corp., 71 Misc. 2d 831, 834-35 (Sup. Ct. N.Y. Cnty. 1972) (holding Elvis

Presley had no “property right” in press conference responses “which supersedes the

right of its free dissemination”). Accordingly, the Eleventh Circuit has indicated

that news organizations most likely hold the sole copyright in interviews with

government officials since they “make [the] audio, filming and editing choices in

the presentation of [the] material.” Pacific and Southern Co., Inc. v. Duncan, 792

F.2d 1013, 1014 n.1 (11th Cir. 1986). Indeed, vesting full ownership in the reporter

is critical to fostering the “free dissemination of thoughts [and] ideas [on]

newsworthy events and matters of public interest.” Current Audio, 71 Misc. 2d at

834-35.

      Woodward’s ownership of the Interviews (and the Work as a whole) is

buttressed by analogous decisions involving other types of works that involve

creative input from multiple contributors, such as movies, which also “define[] the

author as the person to whom the work owes its origin and who superintended the

whole work, the ‘master mind.’” Aalmuhammed v. Lee, 202 F.3d 1227, 1233 (9th

Cir. 2000).   The Second Circuit similarly held that when, as here, “multiple

individuals lay claim to the copyright in a single, [non-joint] work, the dispositive

inquiry” as to ownership “is which of the putative authors is the ‘dominant author.’”

16 Casa Duse, LLC v. Merkin, 791 F.3d 247, 260 (2d Cir. 2015) (rejecting film



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director’s claim to own raw footage he shot because producer was the “dominant

author” of the project). See also M.C. Amerine, Wrestling Over Republication

Rights: Who Owns the Copyright of Interview?, 21 MARQ. INTELL. PROP. L. REV.

159 at 181-84 (arguing that copyright rests with journalists who “mastermind,”

“shape,” and “control” the interview by “performing the initial research, devising a

theme, tailoring questions, to developing a rapport”).8

      Here, Woodward was the “dominant author” of the Interviews. It was

Woodward, not President Trump, who initiated the project (see Compl. ¶31) and

exercised the “decision making authority” that is a critical hallmark of sole copyright

ownership. 16 Casa Duse, 791 F.3d at 260. It was Woodward who “actually

creat[ed]” the Interviews by taping them, thus “translat[ing] an idea into a fixed,

tangible expression.”    Reid, 490 U.S. at 737.        And it was Woodward who

“superintended” or “masterminded” the Interviews by deciding what topics to cover,

what questions to ask, when to press President Trump, or when to let him keep

talking, all while steering President Trump back to matters of policy whenever he



8
  The decisions reaching a contrary result are generally old cases based on outdated
rationales or defunct doctrines. Several were decided under common law copyright
principles superseded by Section 102 of the 1976 Copyright Act. See, e.g., Estate
of Hemingway v. Random House, Inc., 23 N.Y.2d 341 (1968). Others were decided
before Reid, 490 U.S. at 737, and relied on now-improper understandings of Section
102’s definition of authorship. Some arose in different factual settings involving
private citizens, not government officials, and contain limited reasoning. See, e.g.,
Suid v. Newsweek Magazine, 503 F. Supp. 146 (D.D.C. 1980).

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strayed. See, e.g., Ex. A, 118; supra, 6. President Trump’s multiple on-the-record

admissions that he did not control how the Interviews would be used underscore

Woodward’s ownership. See, e.g., Ex. A, 323-24; supra, 7. See also Garcia, 786

F.3d at 744 (where participant had no control over how the work was presented she

could “hardly argue that the [Interviews were] fixed ‘by or under her authority’”).

      Even more untenable is President Trump’s claim that he owns the Work

“in full.” Compl. ¶64. This ignores Woodward’s editorial role and authorship of

all the original content that transformed the raw Interviews into a coherent

“historical record.”   The Work contextualizes the Interviews with an original

Introduction, Epilogue and “227 commentaries” written by Woodward. Woodward

also incorporated the voices of many executive branch officials other than President

Trump, including a whole chapter devoted to two Trump Administration officials.

See Ex. A, 295-310; see also Dkt. 27-2 (appendix summarizing federal employees

mentioned in the Work, hereafter the “Appendix”). And Woodward, together with

S&S audiobook editors and sound engineers, edited the raw Interviews for clarity,

repetition, and sound quality. Because Woodward is the true and dominant author

of his Work derived from his on-the-record Interviews of a sitting president,

copyright law and public policy dictate that Woodward is the sole copyright owner—

not President Trump. See 16 Casa Duse, 791 F.3d at 256-59.




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              B.     President Trump Cannot Own His Interview Responses
                     Because They Are Government Works under Copyright
                     Law

       The Copyright Claims independently fail for the basic reason that he was

President of the United States when he participated in the Interviews and his

responses belong to the People, not him personally. The Copyright Act expressly

states that “copyright protection…is not available for any work of the United States

Government,” which is defined as any “work prepared by [1] an officer or employee

of the United States Government [2] as part of that person’s official duties”

(“Government Works”). 17 U.S.C. §§101, 105. The Supreme Court recently

confirmed the breadth of this exemption, observing that the “bar on copyright

protection for federal works sweeps…broadly” and “applies to works created by all

federal ‘officer[s] or employees’” during their employment.            Georgia v.

Public.Resource.Org, Inc., 140 S. Ct. 1498, 1509-10 (2020). In other words, the

work product of government representatives—including the President—is common

property that exists to benefit the public, not an emolument to be exploited for

personal gain. Cf. Banks v. Manchester, 128 U.S. 244, 253 (1888) (“Judges, as is

well understood, receive from the public treasury a stated annual salary, fixed by

law, and can themselves have no pecuniary interest or proprietorship, as against the

public at large, in the fruits of their judicial labors.”).




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      President Trump has admitted that he satisfies the first element of Section 105,

i.e., that he was an “employee” of the federal government. As he stated himself in a

submission to the Second Circuit, “[p]residents plainly are employees of the

Government…” Ex. C, 6. The Second Circuit agreed, finding that President Trump

was an “employee” of the federal government for the purposes of invoking immunity

under the Federal Tort Claims Act in a defamation action. Carroll v. Trump,

49 F.4th 759, 770 (2d Cir. 2022) (“[T]he President is a government employee in the

most basic sense of the term.”).9

      It is equally clear that President Trump contributed to the Interviews as “part

of his official duties” for the purposes of Section 105. When President Trump was

sued for defamation over statements he made during a press conference, the

Department of Justice certified that he “was acting within the scope of his office as

the President of the United States at the time of the alleged conduct.” Ex. D, 2.

And President Trump filed a brief in those proceedings stating that “more than any

other public official, the President is expected to respond to questions from the media



9
  Having instructed the Justice Department to certify that he was acting within the
scope of his employment (see Ex. D), President Trump is judicially estopped from
taking a contrary position in this action. See Korman v. Iglesias, 778 Fed. Appx.
680, 682 (11th Cir. 2019) (“Judicial estoppel may be applied when the plaintiff ‘took
a position under oath in the [prior] proceeding that was inconsistent with the
plaintiff’s pursuit of the [present] lawsuit’ and she thus ‘intended to make a mockery
of the judicial system.’”) (quoting Slater v. U.S. Steel Corp., 871 F.3d 1174, 1180
(11th Cir. 2017)).


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that affect his ability to maintain the trust of the American people and effectively

carry out his official duties… [S]peaking to the press and communicating with the

public is clearly conduct ‘of the kind [a President] is employed to perform.’” Ex. E,

8, 19. And President Trump is correct: Courts have consistently held that public

officials act “within the scope of employment” when they discuss issues relevant to

the performance of their duties “in response to a reporter’s inquiries.” Council on

Am. Islamic Rels. v. Ballenger, 444 F.3d 659, 664 (D.C. Cir. 2006); Does v. Haaland,

973 F.3d 591, 601-02 (6th Cir. 2020) (tweets posted by Senators fell within the scope

of their duties); Clinton v. Jones, 520 U.S. 681, 686 (1997) (statements made to the

press about a President’s personal life “may involve conduct within the outer

parameter of the President’s official responsibilities”); Wuterich v. Murtha, 562 F.3d

375, 384–85 (D.C. Cir. 2009) (congressman’s media interviews); Wilson v. Libby,

535 F.3d 697 (D.C. Cir. 2008).10

       Here, the Interviews all occurred when President Trump was in office (Compl.

¶32) and were clearly “part of [his] official duties.” 17 U.S.C. §101. Indeed,

Woodward conducted the first two Interviews from inside the Oval Office, the




10
   Memoirs written after a President leaves office are not written in the course of his
duties and are outside the scope of Section 105. See Nation v. Harper & Row, 471
U.S. 539, 557 n. 6 (1985) (“[T]he Copyright Act recognized a public interest
warranting specific exemptions in a number of areas not within traditional fair use
see, e.g., … §105 (no copyright in Government works)).”


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innermost seat of presidential power.11 Post-COVID, President Trump made or

received telephone calls to Woodward from the White House or Air Force One.

See Appendix. On substance, the Interviews addressed the weightiest issues facing

the Trump Administration and the American public—such as President Trump’s

impeachment, COVID-19 and foreign relations.12 See, e.g., Ex. A, 50-51, 132-34,

137-42, 259-272. A coterie of executive branch staffers monitored and participated

in the Interviews—including the Press and Communications Deputies, whose jobs

are focused on the Administration’s public messaging. See, e.g., Compl. ¶44; Ex. A,

45, 169-73; supra, 8. Finally, President Trump confirmed that he was conducting

presidential business by repeatedly telling Woodward to follow up on certain

subjects with other federal officials, like National Security Advisors O’Brien and

Pottinger. See, e.g., Ex. A, 121, 176, 191, 295-310.

       Defendants are aware of no authority permitting President Trump to own

statements he made to Woodward while serving as president. The Complaint

misguidedly cites the Copyright Office’s Compendium of Practices, which includes

a default administrative rule permitting interviewers and interviewees to register



11
  The Complaint excluded the interview Woodward conducted with then-candidate
Trump in 2016 from the list of Interviews supporting the Copyright Claims.
See Compl. ¶32.
12
  Underscoring his “official duties,” President Trump provided Woodward with
special access to government documents, such as official correspondence with Kim
Jong Un of North Korea. Ex. A, 423-54.

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separate copyrights in their respective questions and responses. See Compl. n.1.

The Compendium speaks to interviews generally. It does not address, and clearly

does not overrule, Section 105’s statutory prohibition on private ownership of

government works. Further, “the Compendium is a non-binding administrative

manual” and courts are required to “follow it only to the extent it has the power to

persuade.” Public.Resource.Org, Inc., 140 S. Ct. at 1510. Here, the argument for

“splinter[ing]” a journalist’s interviews of a sitting President or other government

actors into a “Swiss cheese of copyrights” is unpersuasive. Garcia, 786 F.3d at 742.

Such a regime would give President Trump and other public officials interviewed

by the press the right to sue over any critical or unwelcome use of their statements.

Copyright equates to legal control over expression and requiring journalists to

negotiate authorship rights away from interviewees, particularly public officials,

would invite contractual censorship of criticism and chill open discourse.

Any decision granting President Trump private ownership of his statements to the

press as President would stymie discussion of his place in American history and

contradict the long tradition of opening up a President’s words to public scrutiny.

      In sum, President Trump’s contributions to the Interviews for “the historical

record” are government works that copyright law bars him from owning in a personal

capacity. Dismissal is warranted for this independent reason.




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      III.   THE PUBLICATION OF THE WORK WAS FAIR USE

      Even assuming President Trump owns a copyright in the Interviews, the

Copyright Claims should still be dismissed because Woodward’s incorporation of

that material into the Work is a fair use. The Copyright Act provides that “the fair

use of a copyrighted work” for “purposes such as criticism, comment [or] news

reporting… is not an infringement of copyright.” 17 U.S.C. § 107.

      Here, Woodward’s use of the Interviews is classic news reporting, using

President Trump’s actual words and tone as the foundation for the Work’s extensive

comments and criticism.     In a leading decision, the Second Circuit held that

Bloomberg’s unauthorized publication of an entire recorded earnings telephone call

led by Swatch executives was fair use based on the rationale that, “in news

reporting,” the “need to convey information to the public accurately may in some

instances make it desirable and consonant with copyright law for a defendant to

faithfully reproduce an original work without alteration.” Swatch Group Mgmt.

Serv. v. Bloomberg L.P., 756 F.3d 73, 84 (2d Cir. 2014). As the Second Circuit

stated, “a speaker’s demeanor, tone and cadence can often elucidate his or her true

beliefs far beyond what a stale transcript or summary can show.” Id.

      If there were ever a case that called out for summary application of the Swatch

principle, this is it. The Work at issue—entitled The Trump Tapes: The Historical

Record—is a paradigmatic example of the “need to convey information to the public



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accurately.” Id. As Woodward states in the Work, he “publish[ed] long excerpts”

from his presidential Interviews because he “wanted to put as much of [President]

Trump’s voice, his own words, out there for the historical record and so people could

hear and judge and make their own assessment.” Ex. A, 2. See also Ex. B, CD Back

Cover (“[L]isteners will hear Trump as Woodward did: profane, incautious, divisive,

and deceptive, but also engaging and entertaining…”).

       Section 107’s four fair use factors all strongly favor dismissal. The first factor

looks to the purpose and character of the use. Through its Introduction, Epilogue,

227 original commentaries, and related interviews of other government officials, the

Work uses the Interviews for the transformative and presumptively fair purpose of

“commenting” upon and “criticizing” statements Trump made during the Interviews

and his Administration more broadly. See, e.g., SunTrust Bank v. Houghton Mifflin

Co., 268 F.3d 1257, 1265 (11th Cir. 2001).

       The second factor—the nature of the original work—plays a prominent role

here because a President’s off-the-cuff, oral responses to an interviewer’s questions

have a “manifestly factual character” that deserves “thin” copyright protection at

best. Swatch, 756 F.3d at 89. See also Google v. Oracle, 141 S. Ct. 1183, 1206-08

(2021) (non-creative works are “far from the core of copyright” and more susceptible

to fair use).




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      As for the third factor—amount and substantiality of the use—Woodward

used most of the Interviews, but the amount was commensurate with the Work’s

purpose to capture the “historical record” and allow the audience to experience

President Trump explaining his presidency in his own, frequently voluminous

words. Swatch, 756 F.3d at 90 (“[C]opying the entirety of a work is sometimes

necessary for a fair use.”)

      Finally, the fourth factor examines the effect on the potential market for the

original and weighs strongly in favor of fair use. There is no traditional market or

likely-to-be-developed market for Presidents to exploit interviews conducted during

their presidency, particularly when those discussions covered matters of state.

American Geophysical Union v. Texaco, 60 F.3d 913, 930 (2d Cir. 1994). It would

be perverse to recognize such a market, and contrary to public policy to enable public

officials to profit from speaking to the press while in office. See, e.g., Oracle, 141

S. Ct. at 1206 (2021) (assessing “public benefits” as part of fourth factor analysis).

      This is one of the rare cases where fair use is so evident from the face of the

Complaint that immediate dismissal is appropriate. Mizioznikov v. Forte, 2017 WL

5642383, at *3, 8 (S.D. Fla. Mar. 27, 2017) (granting Rule 12(b)(6) motion when

fair use “defense appears on the face of the complaint”) (quoting Quiller v. Barclays

American/Credit, 727 F.2d 1067, 1069 (11th Cir. 1984)).




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      IV.    THE STATE LAW CLAIMS ARE PREEMPTED BY THE
             COPYRIGHT ACT

      The State Law Claims (Counts III-IX) should all be dismissed because they

are preempted by the Copyright Act according to the doctrines of (A) “conflict

preemption” and (B) “explicit preemption” under 17 U.S.C. §301. These two

preemption doctrines are independently applicable and either one provides a basis

for dismissal. See Foley v. Luster, 249 F.3d 1281, 1285-89 (11th Cir. 2001)

(applying different categories of preemption to copyright claims).

             A.     The State Law Claims Are Barred by Conflict Preemption

      Conflict preemption bars the State Law Claims because they all require this

Court to enforce President Trump’s alleged ownership interest in the Interviews in

violation of the Copyright Act’s clear directive that “[c]opyright protection…is not

available for any work of the United States Government.” 17 U.S.C. § 105(a).

      Conflict preemption arises “where state law stands as an obstacle to the

accomplishment and execution of the full purposes and objectives of Congress.”

Foley, 249 F.3d at 1287 (quoting Pacific Gas & Elec. Co. v. State Energy Res.

Conservation, 461 U.S. 190, 204 (1983)) (quotations and citations omitted).

“[W]hen an article is unprotected by a patent or a copyright, state law may not forbid

others to copy that article. To forbid copying would interfere with the federal policy,

found in Art. I., § 8 of the Constitution and in the implementing federal statutes, of

allowing free access to copy whatever the federal patent and copyright laws leave in


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the public domain.” Compco Corp. v. Day-Brite Lighting, 376 U.S. 234, 237 (1964).

See also Goldstein v. California, 412 U.S. 546, 559 (1973) (explaining that “[w]here

the need for free and unrestricted distribution of a writing is thought to be required

by the national interest, … a State [cannot] protect that which Congress intended to

be free from restraint . . .”); Bonito Boats v. Thunder Craft Boats, 489 U.S. 141, 167

(1989) (preempting Florida law that “restrict[ed] the public’s ability to explore ideas

that the patent system mandates shall be free for all to use”); Vault Corp. v. Quaid

Software Ltd., 847 F.2d 255, 270 (5th Cir. 1988) (conflict preemption bars breach

of contract claims that conflict with the Copyright Act).

      Here, conflict preemption preempts the State Law Claims because they

attempt to thwart Congress by permitting President Trump to “block off from the

public something which federal law said belongs to the public.” Sears Roebuck &

Co v. Stiffel Co., 376 U.S. 225, 231-32 (1964). Each State Law Claim asks this

Court to contravene Section 105, whose express purpose is to ensure that “the

individual Government official or employee who wrote the work could not secure

copyright in it or restrain its dissemination by the Government or anyone else.”

H.R. Rep. No. 94-1476 at 59 (1976). For example, President Trump’s contract-

based claims (see Compl. ¶¶102-05, 117-127, the “Contract Claims”) all rest on the

erroneous assumption that President Trump personally owns a copyright interest that

he could then license to Woodward—precisely what Section 105 prohibits.



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The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) claim is also

based on an ownership right that federal law prohibits. It alleges that Defendants

engaged in unfair practices through “Publication of the Interview[s]… with

knowledge of President Trump’s rights to the ownership of the same” and “to

capitalize and benefit from President Trump’s voice to the detriment of President

Trump’s ability to publish his own voice given his position as author.” Compl. ¶113.

And the Complaint’s remaining claims similarly rely on a theory that “unauthorized”

publication of the Interviews constituted unjust enrichment because President Trump

deserves to be “compensate[ed]” for the “benefit” of granting interviews to

Woodward (e.g., Compl. ¶¶79, 82), again seeking a private benefit for public works.

See Compl. ¶¶75-101 (collectively with FDUTPA, the “Unfair Competition

Claims”).

      No matter how President Trump labels his claims, their underlying foundation

remains the same—claiming an exclusive, private right to control and be

compensated for the dissemination of interviews with journalists he conducted as

part of his presidential duties. That is precisely what the Copyright Act forbids.

In other words, contrary to the Supremacy Clause, the State Law Claims seek to

eviscerate Section 105 by permitting public officials—who are supposed to be

faithful representatives of the People—to convert government work product into

private property at will. Since the President speaks for the People, his words belong



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to the People. The State Law Claims, by contrast, improperly seek to privatize the

historical record and should be dismissed as preempted.

               B.   The State Law Claims Are Expressly Preempted by 17
                    U.S.C. § 301

       While the Court need not go any further to dismiss the Complaint in its

entirety, the State Law Claims are independently barred by 17 U.S.C. § 301, which

expressly preempts the application of any state laws that (1) fall within the “subject

matter of copyright” and (2) are “equivalent to” the exclusive rights established in

the Copyright Act. 17 U.S.C. § 301.13 The first element is easily satisfied across

the board because the State Law Claims arise out of the use of the Interviews in the

Work, which falls squarely within copyright’s subject matter. See 17 U.S.C.

§102(a)(1) and (7) (listing literary works and sound recordings as works of

authorship).

       As for the second element, both the D.C. and Eleventh Circuits apply the

“extra element” test to determine whether there is equivalency:

       “[I]f an extra element is required instead of or in addition to the acts of
       reproduction, performance, distribution or display, in order to

13
  This Court should apply District of Columbia law to the State Law Claims in the
few instances where there are material conflicts with Florida law. Since “[t]he
Copyright Act provides no guidance regarding choice of law,” courts employ
common law choice of law principles and look to the jurisdiction “with the most
significant relationship.” Dish Network LLC v. TV Net Solutions, LLC, 2014 WL
6685351, at *2-3 (M.D. Fla. Nov. 25, 2014). For the reasons stated in Defendant’s
motion to dismiss for improper venue, Washington, D.C. has the most significant
relationship with the Work, and its law is thus applicable here. See Dkt. 27, 17.

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      constitute a state-created cause of action, then the right does not lie
      within the general scope of copyright and there is no preemption.”

Foley, 249 F.3d at 1285 (citation omitted); ICC Evaluation Serv., LLC v. Int’l Ass’n

of Plumbing & Mech. Offs., Inc., 2016 WL 11769565, at *5–8 (D.D.C. Sept. 19,

2016). “A state law claim is not preempted if the extra element changes the nature

of the action so that it is qualitatively different from a copyright infringement claim.”

Foley, 249 F.3d at 1285 (emphasis in original). None of the State Law Claims, as

pleaded, have an extra element that is qualitatively different from a copyright

infringement claim. As such, each is preempted.

                    1.     The Unfair Competition Claims Are Preempted by
                           Section 301

      President Trump’s Unfair Competition Claims (Counts III-V) turn on his

allegation that he “conferred a benefit” on Defendants by participating in the

Interviews, which Defendants “accepted” and then improperly enriched themselves

by publishing the Work “without accounting to and compensating President

Trump….” Compl. ¶87. Numerous courts have found such claims preempted under

Section 301 because “enrichment” is not an extra element. As one explained,

“[w]hile enrichment is not required for copyright infringement, we do not believe

that it goes far enough to make the unjust enrichment claim qualitatively different

from a copyright infringement claim.” Briarpatch Ltd., L.P v. Phoenix Pictures,




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Inc., 373 F.3d 296, 306-07 (2d Cir. 2004).14 This conclusion is underscored since

President Trump does not allege that there was an expectation and agreed terms of

payment in the event that Woodward used the Interviews. Absent that foundation,

the Unfair Competition Claims are nothing more than claims for damages arising

from allegedly unauthorized copying. See, e.g., Psychic Readers Network, Inc. v.

Take-Two Interactive Software Inc., 2018 WL 1517690, at *3 (S.D. Fla. Feb. 5,

2018) (preemption where plaintiff alleged defendant used the “look and sound” of

plaintiff’s Miss Cleo character in defendant’s video game “without paying”); Ross

v. Apple, Inc., 2016 WL 8808769, at *5 (S.D. Fla. Dec. 30, 2016) (preemption where

plaintiff alleged Apple sought out abandoned copyrights to steal for their own

gain).15

       President Trump’s FDUTPA claim is also barred for lack of an extra element.

The gist of the claim is that Defendants engaged in an unfair act by depriving

President Trump of his rights as a “consumer” by publishing a Work in



14
   Other authority supports dismissal of the Unfair Competition Claims as
preempted. See 6 Patry On Copyright §18:51 (2023) (“[T]ypical unjust enrichment
claims are preempted because they are mere attempts to state a claim for damages
for unauthorized copying or other activity encompassed by Section 106”); Pena-
Rivera v. Ed. Am. S.A., 1997 WL 363975, at *2 (S.D. Fla. May 5, 1997) (unjust
enrichment claim preempted).
15
  Florida courts are split over whether unjust enrichment claims are preempted.
Compare Psychic Readers Network, 2018 WL 1517690 with Jaggon v. Rebel Rock
Ent., Inc., 2010 WL 3468101, at *3 (S.D. Fla. Sept. 1, 2010).


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contravention of his “rights to ownership” and “position as an author”—concepts

parallel to his copyright claim. Compl. ¶¶106-116. The Complaint’s “reiteration of

the elements of an FDUTPA claim is not enough to save its… copyright

infringement claims from preemption.” Millennium Travel & Promotions, Inc. v.

Classic Promotions & Premiums, Inc., 2008 WL 2275555, at *3 (M.D. Fla. June 2,

2008). See also Stripteaser, Inc. v. Strike Point Tackle, LLC, 2014 WL 866396, at

*5 (S.D. Fla. Mar. 5, 2014). Nor can President Trump evade preemption by offering

as an extra-element conclusory, non-specific allegations that Woodward harmed his

reputation by editing the Interviews deceptively (Compl. ¶113(iii))—especially

since the one example (Compl. ¶53) shows innocuous edits for clarity that fall far

short of a valid false light claim. See, e.g., Zimmerman v. Al Jazeera Am., LLC, 246

F. Supp. 3d 257, 280 (D.D.C. 2017) (dismissing false light claim).16

                   2.    The Contract Claims Are Preempted by Section 301

       The Contract Claims (Counts VI, VIII-IX) are all premised on the notion that

Woodward unlawfully reproduced the Interviews in conflict with a supposed

promise that they would only be “used for the purposes of writing a single book.”

Compl. ¶118. While there is a Circuit split on whether Section 301 preempts breach



16
  Accounting—even if a separate claim—is also preempted under §301. See, e.g.,
Gary Friedrich Enterprises, LLC v. Marvel Enterprises, Inc., 713 F. Supp. 2d 215,
233 (S.D.N.Y. 2010) (“[A]ccounting claims based primarily on copyright
infringement do not satisfy the ‘extra element’ test and are preempted.”).


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of contract claims, courts in several circuits including D.C. (the proper venue in this

action whose law should apply) hold that a “promise” to “refrain” from

“reproducing” or “distributing” a copyrighted work is not sufficient to constitute an

extra element and are preempted.17 ICC Evaluation Serv., 2016 WL 11769565, at

*5–8 (citing Wrench LLC v. Taco Bell Corp., 256 F.3d 446, 455–58 (6th Cir. 2001)

and Am. Movie Classics Co. v. Turner Entm’t Co., 922 F. Supp. 926, 931 (S.D.N.Y.

1996)); see also 1 Nimmer on Copyright § 1.01[B][1][a] at 1–22 (1997) (although

“the vast majority of contract claims will presumably survive scrutiny…nonetheless

preemption should continue to strike down claims that, though denominated

‘contract,’ nonetheless complain directly about the reproduction of expressive

materials”). President Trump’s quasi-contractual claims of promissory estoppel and

breach of the covenant of good faith and fair dealing should be preempted for

essentially the same reason. Cf. Briarpatch Ltd., L.P v. Phoenix Pictures, Inc., 373

F.3d 296, 306 (2d Cir. 2004) (state law cause of action for quasi contract should be

regarded as an ‘equivalent right’ to copyright and hence pre-empted).




17
  The Eleventh Circuit holds that contract claims are generally not preempted by
Section 301, while recognizing the views of other circuits. Lipscher v. LRP
Publications, 266 F.3d 1305, 1318-19 (11th Cir. 2001).


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      V.     THE STATE LAW CLAIMS MUST BE DISMISSED FOR
             FAILURE TO STATE A VALID CAUSE OF ACTION

      The State Law Claims should also be dismissed for failure to allege “enough

facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 50 U.S. 544, 570 (2007). Because President Trump has “not nudged [his]

claims across the line from conceivable to plausible, [his] complaint must be

dismissed.” Id.

             A.     The Contract Claims Are Meritless

      President Trump’s breach of contract claim against Woodward should be

dismissed because he has failed to identify any clear enforceable promise that

Woodward would not use the Interviews as part of the Work. “The party asserting

the existence of the oral contract has the burden of proving that an enforceable

agreement exists.” Strauss v. NewMarket Global Consult. Gp., LLC, 5 A.3d 1027,

1033 (D.C. 2010) (citing Kramer Assocs. v. Ikam, Ltd, 888 A.2d 247, 251 (D.C.

2005)).

      Here, the Complaint alleges that “President Trump made Woodward aware on

multiple occasions, both on and off the record, of the nature of the limited license to

any recordings”—i.e., that the Interviews were “for the sole purpose of accurately

quoting President Trump for…Rage.” Compl. ¶46. As support for this position,

President Trump cherry-picks two excerpts from the Work in which Woodward

agreed that the Interviews would be “for the book.” Id. ¶¶44-45. But the context in


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which these snippets of conversation appear make clear that the only relevant

limitation that Woodward, a veteran Washington Post reporter, placed on himself

was not to roll out a series of individual press “stories” based on his Interviews

before publishing Rage in fall 2020. See, e.g., Ex. A, at 137.

      The Complaint alleges no facts supporting a conclusion that Woodward ever

agreed that President Trump owned the Interviews or that they would never be used

for any purpose other than providing quotations for Rage—nor could it, which is

likely why it plucks a few words out of context. To the contrary, President Trump

repeatedly indicated that he had no control over how Woodward would use the

Interviews in Woodward’s depiction of him.         See supra, 7.     And Interviews

continued even after Woodward had submitted his manuscript for Rage,

contradicting the notion that the Interviews were for the limited purpose of quotation

in the book. See supra, 9. There is nothing approaching a plausible allegation that

there was a meeting of the minds in which Woodward agreed that President Trump

actually “owned” the Interviews and only granted Woodward a “limited license” to

use quotes from the Interviews in Rage. No experienced journalist would agree to

such onerous terms—particularly with respect to materials that form part of “the

historical record”—and nothing in the tapes remotely suggests that Woodward had

taken the extraordinary step of agreeing to President Trump’s alleged terms, which

requires dismissal of the Contract Claims. See, e.g., Montgomery v. Wells Fargo



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Bank, N.A., 2017 WL 5127715, at *5 (N.D. Ala. Nov. 6, 2017) (contract claim

dismissed where it was “implausible to construe [the alleged] series of events as an

acceptance of a contract”).

      The statute of frauds provides an independent ground for dismissing the

breach of contract claims. “[A]n action may not be brought… upon an agreement

that is not to be performed within one year from the making thereof, unless the

agreement [is in writing].” D.C. Code Ann. § 28-3502. Here, President Trump’s

purported agreement with Woodward prohibiting his reuse of the Interviews

extended into perpetuity. Thus, as a services contract that cannot be performed

within one year, it is subject to the stringent writing and signature requirement. See,

e.g., Myers v. Fabrics, 101 A.D.2d 777, 778 (N.Y. App. Div. 1st Dep’t 1984)

(holding that oral license “runs afoul of the Statute of Frauds”), aff’d in relevant

part, 65 N.Y.2d 75 (1985). Here, since it is uncontested there is no signed “writing

set[ting] forth the essential terms of the agreement,” the breach of contract claims

should be dismissed. Gharib v. Wolf, 518 F. Supp. 2d 50, 54-55 (D.D.C. 2007). See

also Sonders v. Roosevelt, 64 N.Y.2d 869, 871 (N.Y. 1985) (tape recorded

conversations did not satisfy Statute of Frauds); Truman v. Brown, 434 F. Supp. 3d

100, 114 (S.D.N.Y. 2020) (“motley communications” including “phone call

transcripts … do not satisfy the Statute of Frauds”).




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      As for President Trump’s duplicative claims for promissory estoppel and

breach of the covenant of good faith and fair dealing, they should also be dismissed

because they “merely… restate his breach of contract claim in other dress.”

Kauffman v. Int’l. Brotherhood, 950 A.2d 44, 49 (D.C. 2008).

             B.    The Unfair Competition Claims Are Meritless

      The Complaint fails to state a claim under FDUPTA.             First, and most

fundamentally, President Trump’s FDUTPA claims should be dismissed because

they arise from the publication of expressive speech. “For the FDUTPA to apply,

the alleged violation must have taken place ‘in the conduct of any trade or

commerce,’ which is defined as ‘the advertising, soliciting, providing, offering, or

distributing’ of goods, services, property, ‘or any other article, commodity, or thing

of value.’” Bongino v. Daily Beast Co., LLC, 477 F. Supp. 3d 1310, 1321 (S.D. Fla.

2020) (quoting Fla. Stat. §§ 501.203(8), 501.204(1)). The Eleventh Circuit has

mandated, however, that the publication of “editorial” content—i.e., non-

commercial     speech—is     categorically    exempt    from    FDUTPA       liability.

Id. (dismissing FDUTPA claim based on news article) (quoting Tobinick v. Novella,

848 F.3d 935, 950 (11th Cir. 2017)). The Work is unquestionably expressive in

nature, not commercial speech, and the claim fails as a matter of law.

      Second, “FDUPTA applies only to actions that occurred within the state of

Florida.” Five for Ent. S.A. v. Rodriguez, 877 F. Supp. 2d 1321, 1330 (S.D. Fla.



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2012) (dismissing claim where deceptive conduct occurred outside Florida); W.W.

Sports Importadora Exportadora e Comercial Ltda v. BPI Sports, LLC, 2016 WL

9375202, at *5 (S.D. Fla. Aug. 11, 2016) (dismissing FDUTPA claim against “non-

resident defendant accused of no wrongful conduct in Florida”). Clearly, the

primary conduct at issue occurred in Washington, D.C., not Florida.

      Finally, President Trump does “not allege harm caused to consumers” and

therefore “failed to state a claim for relief.” Garrett-Alfred v. Facebook, Inc., 540

F. Supp. 3d 1129, 1141 (M.D. Fla.2021). Relevant here, he cites boilerplate

language about “mislead[ing] and deceiv[ing] other customers into viewing him in

a poor light” to circumvent his failure to otherwise allege a harm to an actual

consumer. Compl. ¶ 113. An unflattering opinion of President Trump cannot

amount to consumer injury. Hanson Hams, Inc. v. HBH Franchise Co., LLC, 2004

WL 5470401, at *8–9 (S.D. Fla. Dec. 21, 2004) (plaintiff must show “actual

damages proximately caused by the unlawful conduct”). Even so, such injury is

purely speculative, as he has alleged no actual consumer who has been injured in

this manner.

      President Trump’s unjust enrichment claims should be dismissed as

duplicative because they “seek[] recovery for the exact same wrongful conduct as in

[his] FDUTPA claim” and Contract Claims, i.e., publication of the Interviews in the

Work. Guerroro v. Target Corp., 889 F. Supp. 2d 1348, 1356 (S.D. Fla. 2012) (“[I]f



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Plaintiff cannot prevail on her FDUTPA claim, she cannot prevail on her unjust

enrichment claim.”).     Moreover, there is nothing remotely “unjust” about

Defendants’ publication of the Interviews in the Work, which President Trump

willingly engaged in with no sense that he controlled them. See Ex. A, 292; supra,

7. Moreover, the claim that “Woodward has failed to acknowledge or cite to

President Trump’s contributions to the [Work]” is flatly contradicted by the title—

The Trump Tapes—and by the Complaint itself, which reproduces webpages for the

Work that identify President Trump as a contributor. See Compl. ¶¶38-39.

      In short, the State Law Claims fail on their own merits in addition to being

preempted as Copyright Claims by another name.

      VI.    NO VOLITIONAL CONDUCT WAS PLEADED AGAINST
             PARAMOUNT

      Finally, the unfair competition and Copyright Claims against Paramount

should be dismissed because the Complaint includes no plausible allegation that

Paramount (as the parent of S&S) was responsible for any of the allegedly unlawful

conduct at issue in this action. “It is a general principle of corporate law... that a

parent corporation... is not liable for the acts of its subsidiaries.” United States v.

Bestfoods, 524 U.S. 51, 61 (1998). In the copyright context, this means that a parent

corporation cannot be held liable for the infringement of its subsidiary “unless there

is a ‘substantial and continuing connection’ between the infringing acts of the parent

and subsidiary.” Pegasus Imaging Corp. v. Northrop Grumman Corp. 2008 WL


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5099691, at *1 (M.D. Fla. Nov. 25, 2008) (quoting Howard Johnson v. Khimani,

892 F.2d 1512, 1518 (11th Cir.1990)).

      Here, the only specific allegation of Paramount’s involvement with the Work

is that its “assets include [S&S]” and it “exerts direct control over the executive

leadership” thereof. Compl. ¶6. This is not nearly enough to establish copyright

infringement against Paramount for its subsidiary’s alleged infringement of

President Trump’s copyright. See, e.g., Pegasus, 2008 WL 2268323, at *1 (M.D.

Fla. May 30, 2008) (dismissing copyright claim because “a parent corporation… is

not liable for the acts of its subsidiaries”). The tag-along claims of unjust enrichment

and violation of the FDUTPA against Paramount fail for substantially the same

reason. See, e.g., Extraordinary Title Servs, LLC v. Fla. Power & Light Co., 1 So.

3d 400, 404 (Fla. Ct. App. 2009).

                                   CONCLUSION

      Defendants respectfully request that this Court dismiss the Complaint with

prejudice and award such other relief it deems just and proper.




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Dated: April 3, 2023                 DAVIS WRIGHT TREMAINE LLP

                                     /s/ Elizabeth A. McNamara

                                     Elizabeth A. McNamara (NYBN 1930643)
                                     Linda J. Steinman (NYBN 2137305)
                                     John M. Browning (NYBN 5213038)
                                     Leena M. Charlton (NYBN 5622147)
                                     1251 Avenue of the Americas, 21st Floor
                                     New York, NY 10020
                                     Phone: (212) 489-8230
                                     Email: lizmcnamara@dwt.com
                                            lindasteinman@dwt.com
                                            jackbrowning@dwt.com
                                            leenacharlton@dwt.com

                                     GUNSTER, YOAKLEY & STEWART, P.A.

                                     Kenneth B. Bell (FBN 347035)
                                     Lauren V. Purdy (FBN 93943)
                                     Derek K. Mountford (FBN127172)
                                     One Independent Dr., Suite 2300
                                     Jacksonville, FL 32202
                                     Phone: (904) 354-1980
                                     Email: kbell@gunster.com
                                            lpurdy@gunster.com

                                     Attorneys for Robert Woodward,
                                     Simon & Schuster, Inc. and
                                     Paramount Global

                                     WILLIAMS & CONNOLLY*

                                     Kevin T. Bane (DCBN 438394;
                                     pro hac vice pending)
                                     Thomas G. Hentoff (DCBN 128600)

                                     680 Maine Avenue SW
                                     Washington, DC 20024
                                     Phone: (202) 434-5804

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                                   Email: kbaine@wc.com
                                          thentoff@wc.com

                                   *Of counsel to Robert Woodward




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                    CERTIFICATION OF WORD COUNT

      I hereby certify that this Memorandum of Law in Support of Defendants Rule

12(b)(6) Motion to Dismiss complies with Rule 7.1(F) of the Local Rules for the

Northern District of Florida and this Court’s order granting permission to file an

oversized document, not to exceed 10,000 words. Dkt. 22.

      According to the word-processing system used to prepare this Motion to

Dismiss or, in the Alternative, to Transfer for Improper Venue, the total word count

for all printed text exclusive of the material omitted under Rule 7.1 is 9,994 words.

Dated: April 3, 2023                                   /s/ Elizabeth A. McNamara
                                                          Elizabeth A. McNamara




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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 3, 2023, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice

of electronic filing to all counsel of record.

                                                     /s/ Elizabeth A. McNamara
                                                     Attorney




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